                                                         US DISTRICT COURT
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Case 3:23-cv-00851   Document 50-1   Filed 06/25/24   Page 1 of 19 PageID #: 340
                              UNITED STATES DISTRICT

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                                                    Case No. 3:23-cv-00851

  v.                                                Chief Judge William L. Campbell, Jr.
                                                    Magistrate Judge Alistair E. Newbern
  UNITED STATES OF AMERICA et al.,

         Defendants.




        This Order to Show Cause addresses service of process on the United States of America.

 The Court informed pro se Plaintiff Randel Edward Page, Jr., at the beginning of this action that

 he "is responsible for effecting service of process on Defendants in accordance with Federal Rule

 of Civil Procedure 4" and that "[f)ailure to timely complete service of process will result in

 dismissal of this action." (Doc. No. 4, PageID# 28.) Rule 4(i)(1) governs service of process on the

 United States and provides that:

        To serve the United States, a party must:
            (A)(i) deliver a copy of the summons and of the complaint to the United States
            attorney for the district where the action is brought--or to an assistant United
            States attorney or clerical employee whom the United States attorney designates
            in a writing filed with the court clerk--or
                (ii) send a copy of each by registered or certified mail to the civil-process
                clerk at the United States attorney's office;

            (1B) send a copy of each by registered or certified mail to the Attorney General
            of the United States at Washingtou, D.C.; and

            (C) if the action challenges an order of a nonparty agency or officer of the
            United States, send a copy of each by registered or certified mail to the agency
            or officer.




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  Fed. R. Civ. P. 4(i)(1)(A)-(C).

          The docket reflects that the Clerk of Court issued a summons to the United States on August

  31, 2023, at Page's request_ (Doc. Into. 3.) On October 20, 2023, Page filed a proof of service

  affidavit stating that he personally served the summons addressed to the United States on a "[1]egal

  [a]ssistant" at the U.S. .Attorney's Office for the Middle District of Tennessee on September 27,

  2023. (Doe. No. 27, PagelDff 137.) The United States has not appeared or responded to Page's

  complaint. Although Page states that he delivered the summons to the U.S. Attorney's Office for

  this District, as required by Rule 4(i)(1)(A), there is no indication that he also sent a copy of the

  summons and complaint "by registered or certified mail to the Attorney General of the United

  States at Washington, D.C." as required by Rule 4(i)(1)(B).

          Federal Rule of Civil Procedure 4(m) provides that "[i]f a defendant is not served within

  90 days after the complaint is filed, the court—on motion or on its own after notice to the

  plaintiff--must dismiss the action without prejudice against that defendant or order that service be

  made within a specified time." Fed. R. Civ. P. 4(m). The Court must extend the time for service

  upon a showing of good cause, and the Court may exercise its discretion to permit late service

  even where a plaintiff has not shown good cause. United States v. Oakland Physicians Mea? Ctr.,

  LL C, 44 FAth 565, 568 (6th Cir. 2022) (first citing Fed. R. Civ. P. 4(m); and then citing Henderson

  v. United States, 517 U.S. 654, 662 (1996)). Otherwise, the language of Rule 4(m) mandates

  dismissal, either on motion or sua sponte_ Fed. R. Civ. P. 4(m); see also Byrd v. Stone, 94 F.3d

  217, 219 & n.3 (6th Cir. 1996). In light of this plain language, it is well established that Rule 4(m)

  empowers a court to dismiss complaints without prejudice "upon the court's own initiative with

  notice to the plaintiff." Hason v. Med. Bd. of Cal., 279 F.3d 1167, 1174 (9th Cir. 2002); see also




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  raised sua, spoote").

          Because Page filed his complaint on August 15, 2023 (Doc. No. 1), the deadline for him to

  effect service of process on the United States under Rule 4(m) was November 13, 2023. See Fed.



  cause why the Court should not dismiss his claims against the United States.



  should extend the time for Page to effect service of process on the United States and why the

  Magistrate Judge should not recommend that the Court dismiss Page's claims against the United

  States for failure to effect timely service of process under Rule 4(rn). Page is warned that failure

  to comply with this Order to Show Cause will likely result in a recommendation that his claims

  against the United States be dismissed.

          It is so ORDERED.


                                                                t/-
                                                       22L~h
                                                       ALIST E. NEWBERN
                                                       United States Magistrate Judge




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                 Exhibit 6



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                         IN THE UNITED STATES COURT



                             NASHVILLE DIVISION




                                                       No. 3:23-cv-00851

                                                        JUDGE CAMPBELL

                                                       MAGISTRATE JUDGE
                                                       NEWBERN




                     RESPONSE TO ORDER TO SHOW CAUSE




Case 3:23-cv-00851   Document 50-1   Filed 06/25/24   Page 6 of 19 PageID #: 345
                                                    FACTS


      1. The Plaintiff withheld consent of referral to the Magistrate Judge because the Plaintiff has
         filed a Civil Rights complaint and request for injunction. The Plaintiff has filed motions for
         injunctive relief.


      2.   28 USC § 636 (b) (1) (A) states:

                  (b)
                    (1) Notwithstanding any provision of law to the contrary—
                       (A) a judge may designate a magistrate judge to hear and determine any
                       pretrial matter pending before the court, except a motion for injunctive
                       relief, for judgment on the pleadings, for summary judgment, to dismiss
                       or quash an indictment or information made by the defendant, to
                       suppress evidence in a criminal case, to dismiss or to permit maintenance
                       of a class action, to dismiss for failure to state a claim upon which relief
                       can be granted, and to involuntarily dismiss an action. A judge of the court
                       may reconsider any pretrial matter under this subparagraph (A) where it
                       has been shown that the magistrate judge's order is clearly erroneous or
                       contrary to law.


           A conspiracy against the Plaintiff's Civil Rights is being perpetrated by the Defendants
           violating 18 USC § 241. The conspiracy continues to cause financial damage and irreparable
           damage.


      4. As part of the conspiracy, 15 USC § 1 and 15 USC § 2 have been violated causing harm to
         the Plaintiff.


           The Civil Rights complaint is supported by substantial and material evidence that is in the
           possession of the Shelby County Chancery Court located at 140 Adams, Memphis TN 38103,
           the Department of Justice and the Shelby County District Attorney's Office located at 201
           Poplar Avenue, Memphis TN 38103.



                                                CONCLUSION


       6. For good cause the Plaintiff request an extension of time to effect service of process on the
          United States.




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                     Exhibit) C




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                     Exhibit D



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                    IN THE SHELBY COUNTY CHANCERY COURT OF TENNESSEE
                          FOR THE THIRTIETH ,IUDICAL DISTRICT                         PHIS

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  DATASYNC. LLC and RANDEL PAGE
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  MEMPHIIS DISRIBUTION SERVICES, INC. and MARK GUTHRIE

  County Case # CH-20-0288



                            AFFIDAVIT OF FACT IN SUPPORT OF COMPLAINT



            1, Randel Edward Page Jr., state under oath that on April 23"', 2024, 1 provided the Shelby County
            Chancery Court located at 140 Adams Memphis, Tennessee direct evidence of a conspiracy
            against my Civil Rights.



            (Exhibit A)


        2. The affiant is seeking an injunction from the Federal Court for relief and damages outlined in the
           Civil Rights complaint.



            (Exhibit B)



            As part of the conspiracy, the Affiant received an email from co-conspirator "Mark Guthrie"
            notifying the Affiant that locks to the property located at 1797 Florida Street, Memphis,
            Tennessee had been changed. Thus, implementing and executing an illegal self-help eviction.


            (Exhibit C)



        4. Following the execution of the illegal action by -i\/larkGuthrie," the Affiant received a letter from
           attornev "John McManus" threatening the Affiant and violating 18 USC § 1341 and TCA § 39-
           16-703.


            (Exhibit D)




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         After being illegally locked out of his place of business at 1797 Florida Street. Memphis
          Cennessee. ,Affiant gained access to the property with representatives From Disaster Response and
         Restoration. The affiant and representatives from Disaster Response and Restoration documented
         the condition of the property and the damage to the afifiant's inventory.


        (Exhibit E)



        The Affiant and representatives from Disaster Response and Restoration were present at the
        Temporary Restraining Order hearing regarding Case # CH-20-0288. Fraud on the Court was
        committed at the (' TRO") hearing by attorney '- John McManus.'' Mr. McManus knowingly lied
        about the condition of the 1797 Florida Street property, during his examination of the Affiant. The
        Affiants attorney "John Turner" committed Fraud on the Court and fraud against his client by not
        protecting his client and using the Chancery Court to cover up attorney `'John McManus"' fraud
        against the Affiant.



        (Exhibit Fl



        Attorneys'"John Turner" and ''John McManus'" fraud against the Affiant has caused financial
        damage and irreparable damage to the Affiant. The Aunt filed a Motion to Stay in the Shelby
        County Chancery Court.


        (Exhibit G)



        Attorney "John McManus"' continued effort to legitimize an illegal state action has violated 18
        U.S.C. § 1341.


        (Exhibit H)


        Debbie Eddlestone. CEO of "Stern Cardiology' informed the Affiant of the plot against him. Ms.
        Eddlestone identified former Vice President of Technology Transfer for Baptist Memorial Health
        Care Corporation "Beverly Jordan" and "Huron Consulting Group'' as co-conspirators of the plot
        to steal the Affiants property.



        ("Exhibit 1)




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     10, As part of the conspiracy, attorney Dennis Goldasich confirmed the Contempt of a Court Order
         causing Fraud on the Court in Case # CT-002704-17 VII. EPIC SYSTEIMS CORPORATION, et
         al. BAPTIST itilENIORIAL HEALTH CARE CORPORATION_ et al. SHELBY COUNTY
         CIRCUIT COURT, its Officials and Employees' Contempt of a Court Order has caused the
         Affiants Civil Rights for Due Process to be violated. The conspiracy against the Affiant is still
         active and continues to cause financial damage to the Affiant.



         (Exhibit J)



     11. The Affiant met with the Tennessee Bureau of Investigation and gave statements regarding the
         fi-aud and racketeering that has victimized lie and his family. The affiant notified the ("TBI") of
         the Fraud on the Court being committed by attorney "John Turner' and attorney "John
         McManus." As part of the Conspiracy, the SHELBY COUNTY COURT's Zoom account was
         used to commit Fraud against the Affiant in both the CHANCERY COURT and the CIRCUIT
         COURT.



        (Exhibit K)



     12, The BOARD OF PROFESSIONALRESPONSIBILITY OF THE SUPREME COURT OF
         TENNESSEE a wholly controlled State Agency committed Fraud against the Affiant. The
         unconstitutional actions by the ("BOARD") gave rise to the unlawful and fraudulent procedure.
         The ("BOARD's") participation in The Conspiracy and its unconstitutional actions continue to
         violate the Affiants rights for Due Process. The ("BOARD's") actions against the Affiant have
         prevented execution of surety for redress against its licensees, officers and employees. Thus, the
         conspiracy against the affiants Civil Rights and illegal actions by the ("BOARD") continue to
         cause financial damage and irreparable damage. The Civil Rights complaint is supported by
         substantial and material evidence that is in the possession of the Shelby County Chancery Court,
         The Department of Justice and the Shelby County District Attorney's Office.


        (Exhibit L)



     13. At the direction of attorney Steve Pitman, the Affiant put the Shelby County Circuit Court and
         Judge Mary Wagner on notice of the Fraud being committed against him. Fraud on the Court in
         Case # CT-002704-17 VII rendered fraudulent decisions and orders by Judge Mary Wagner
         violating his 140' amendment rights for Due Process.



        (Exhibit M)




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     1=4. The Affiant met ~vIith the Town of Collierville Police Department located in Shelby County
          Tennessee rewarding the conspiracy being perpetrated against him and his family members. The
          Affiant attempted to turn over to the (- `CPD") direct evidence of the Conspiracy. The ("CPD")
          refused to take in the evidence and became an active participant in the conspiracy. The Affiant
          filed a claim against the Town of Collierville for damages.



         (Exhibit N)



     15. The affiant requested a meeting with the Department of Justice regarding the Conspiracy against
         his Civil Rights.


         (Exhibit O)



     16. Affiant made a FOIA request for information regarding his Civil Rights complaint. The request
         was denied. The information the Affiant requested is required for an impartial adjudication of his
         Civil Rights complaint.

         (Exhibit P)



     17. The Affiant tiled a crime report with the Memphis Police Department regarding the Conspiracy
        against his Civil Rights.



        (Exhibit Q)



     18. 1 further state under oath that the violations of laws perpetrated by the Defendants against the
         Affiant include the violations of 18 USC § 241, 15 USC § 1 and 15 USC § 2.



        (Exhibit R)


     19. The Affiant notified the Shelby County Circuit Court of his Federal Trade Commission complaint
         regarding the Fraud being- committed against him and the Court.



        (Exhibit S)




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     20. Court reporter Katherine i 1. Richmond ate employee of Alpha Reporting manipulated the Affiants
         transcripts from his depositions. The Courts Zoom account in Case # CT-002704-17 VII was
         used to take depositions of the Affiant. Defendants' EPIC SYSTEMS CORPORATION and
         BAPTIST MEMORIAL HEALTH CARE CORPORATION committed fraud to conceal co-
         conspirator METHODIST LE BONHEUR HEALTHCARE's participation in the conspiracy
         against the Affiant. The affiant notified attorney Dennis Goldasich of the Fraud by Ms.
         Richmond, Alpha Reporting, BMHCC and Epic.


         (Exhibit T)



     21. As part of the conspiracy, the affiant was asked to attend a meeting with former Methodist Le
         Bonheur Health Care executive "Bill Breen." During that meeting Mr. Breen divulged
         information regarding the theft of the affiant's property and implicated Baptist Memorial Health
         Care Corporation's involvement in a fraud and racketeering scheme. At this meeting the affiant
         was asked about his knowledge of The West Clinic's involvement in the theft of the Affiants
         property and the fraud being committed by The West Clinic. The affiant was copied on an email
         sent by Stan Caummisar to attorney Dennis Goldasich.



        (Exhibit U)



     22. After discovering the STATE OF TENNESSEE did not possess the statutorily required Blanket
         Surety Bond, the Afant acquired the STATE OF TENNESSEE — CERTIFICATE OF SELF-
         INSURANCE and requested the individual Bonds for the state's officers. The Affiant has not
         received the Bonds as he has requested.



        (Exhibit V)


     23. As part of the conspiracy, the Affiants property was stolen and is being used by the UNITED
         STATES OF AMERICA et al. The AfTiant filed a complaint in the Federal Court for relief and an
         injunction for compensation.



        (Exhibit W)




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     24. The Affiant received an ORDER TO SHOW CAUSE in Case No. 3:23-cv-00851



         (Exhibit X)



     25. The Affiant withheld consent of referral to the magistrate judge because the Affiant has requested
         injunctive relief. 28 USC § 636 (b) (1) (a).



         (Exhibit Y)




 The Affiant has taken action to protect his life, liberty and property.



 The Affiant reserves all rights under the rule of law to enforce and impose legal remedy for vindication
 and redress for the violations of his Civil Rights.




 Signature
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 Sworn to before me this 42~jday of             — , 20 %L




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                                 CERTIFICATE OF SERVICE


                                            p,
 I, Randel Edward Page Jr., certify on June 17, 2024, the foregoing AFFIDAVIT OF FACTS IN
 SUPPORT OF COMPLAINT was filed with the Chancery Court of Tennessee for the Thirtieth
 Judicial District at Memphis. A true and correct copy of the foregoing was served via US Mail
 on June/ ~~2024, to the listed below:


 John E. McManus

 Attorney at Law
 7842 Farmington Boulevard
 Germantown, TN 38138




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